       Case 1:25-mj-00111-MAU           Document 1-1        Filed 06/25/25      Page 1 of 5




                                   STATEMENT OF FACTS
        The undersigned affiant has been an Investigator with the United States Park Police since
2024. I am currently assigned to the Major Crimes Unit, Criminal Investigations Branch. I was
previously a Park Police Officer from 2019 to 2024. I have completed the Uniform Police Training
Program at the Federal Law Enforcement Training Center and am certified in areas such as
criminal, homicide, and narcotics investigations. I have participated in numerous criminal
investigations, which resulted in arrests and convictions for violent crimes.
        This affidavit is in support of an arrest warrant and is intended to establish probable cause
for the arrest of Curtis LEAR. This affidavit is not intended to convey all the facts known to law
enforcement. The following facts and circumstances set forth in this affidavit are based on
information supplied to your affiant by members of the law enforcement community, witnesses,
and facts obtained through my independent investigation.
       On June 21, 2025, at approximately 8:45 p.m., a black Jeep Patriot with D.C. license plate
number JF7064 (the “Suspect Vehicle”) drove onto the National Mall in the area of 7th Street,
SW, between Jefferson and Madison Drives in Washington, D.C. The Suspect Vehicle began
driving in circles at a high rate of speed on the National Mall.




                                                 1
Case 1:25-mj-00111-MAU   Document 1-1   Filed 06/25/25   Page 2 of 5




                               2
       Case 1:25-mj-00111-MAU           Document 1-1        Filed 06/25/25     Page 3 of 5




       The National Mall is property controlled by the National Park Service and is within the
Special Maritime and Territorial Jurisdiction of the United States.
        At the time of the incident, there was a large presence of pedestrians on the National Mall.
There was also an event, the 33rd Annual Giant Barbecue Battle, that was taking place along the
National Mall, which created an influx of visitors within the area. One officer estimated that
several hundred visitors were present in the area of the incident.
        V1 was on the National Mall at the time of the incident. V1 reported as follows: V1 was
walking along the National Mall in Washington, D.C., when IT observed a vehicle entering the
park’s grassy area in an extremely aggressive and dangerous manner. The driver was making
sharp turns on the grass and accelerating uncontrollably. At one point, the Suspect Vehicle headed
in V1’s direction, intending to hit V1 and ITS spouse, causing V1 and ITS spouse to run away for
fear of being hurt.



                                                 3
       Case 1:25-mj-00111-MAU           Document 1-1        Filed 06/25/25      Page 4 of 5




       During the incident U.S. Capitol Police Officer Jonathan Haber approached the Suspect
Vehicle on foot. The driver rolled down the driver's side window and stated, “It's just a joke.”
Officer Haber was unable to get a good view of the driver but was able to determine that the driver
was a black male.
        U.S. Capitol Police Officer Jared Negron also observed part of the incident. Officer
Negron saw the driver of the vehicle standing outside of the vehicle yelling at pedestrians while
flexing his arms.
        During the incident, officers attempted a traffic stop but the Suspect Vehicle fled. Officers
on scene described the driver as a black male, approximately six feet tall, medium to large in
stature, with black hair styled in dreads, wearing a black sleeveless muscle shirt and basketball
shorts. Officers canvassed the area and were initially unable to locate the vehicle. Officers queried
the Suspect Vehicle’s license plate number in a law enforcement database and learned that the
Suspect Vehicle was registered to LEAR at Address-1.
        On June 23, 2025, and approximately 2:57 a.m., officers located the Suspect Vehicle
driving near Address-1. Officers conducted a traffic stop. LEAR was driving the Suspect Vehicle.
LEAR matched the description of the driver of the Suspect Vehicle provided by officers on scene.
Police recovered albuterol inhalers from LEAR’s vehicle but found no narcotics, alcohol, or
weapons.
       LEAR waived his Miranda rights and provided a statement. LEAR admitted he owned the
Suspect Vehicle since 2023. He also admitted he had not loaned the vehicle to anyone. LEAR
denied committing the offense.
       On June 22, 2025, a separate photo array procedure was conducted with Officer Negron
and another officer on scene. Both officers positively identified LEAR as the driver of the Suspect
Vehicle.
      As shown below, LEAR’s vehicle caused substantial damage to the grass on the National
Mall. As an initial estimate subject to further revision, a National Park Service maintenance
employee estimated the cost of the damage at approximately $10,000.




                                                 4
      Case 1:25-mj-00111-MAU           Document 1-1       Filed 06/25/25     Page 5 of 5




        As such, your affiant submits that probable cause exists to charge Curtis Lear with
violations of Destruction of Government Property, 18 U.S.C. § 1361; Assimilative Crimes –
Reckless Driving, 18 U.S.C. § 13; Assault with a Dangerous Weapon, 22 D.C. Code § 402, and
Reckless Driving, 50 D.C. Code Section 2201.04(b)(2).




                                                           Investigator Scott Heckathorn
                                                           U.S. Park Police


Subscribed and sworn by telephone pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on June 25, 2025.



                                                        ____________________________
                                                        Moxila A. Upadhyaya
                                                        United States Magistrate Judge


                                               5
